                Case 1:23-cr-00475-DLI Document 19 Filed 12/19/23 Page 1 of 1 PageID #: 173
Federal Defenders                                                                                      Eastern District
                                                                   One Pierrepont Plaza, 16th Fl., Brooklyn, NY 11201

O F NEW YORK, INC .
                                                                              Tel: (718) 330-1200 Fax: (718) 855-0760




 Barry D. Leiwant                                                                               Eastern District of New York
Interim Executive Director                                                                        Michelle A. Gelernt
 and Attorney-in-Chief                                                                          Interim Attorney-in-Charge



                                                                   December 19, 2023
             Judge Dora L. Irizarry
             United States District Court
             Eastern District of New York
             225 Cadman Plaza East
             Brooklyn, New York 11201
                                              Re: United States v. James Young, 23-cr-475

             Dear Judge Irizarry:

                    I am writing to update the Court related to the MDC’s compliance with the
            Court’s order that Mr. Young be “transferred to a medical facility forthwith.” On
            Monday, Mr. Young was taken to a hospital, apparently to the emergency room. As of
            now, Tuesday, however, he is already back at the MDC, back in the general population
            unit, and back in his yellow jumpsuit.

                    After learning that Mr. Young was back at the MDC, I spoke to AUSA
            Stephanie Pak and MDC lawyer Neha Khan. Ms. Khan assured us that Mr. Young was
            going to go to a medical rehabilitation facility and that she was “hoping” that he would
            be transferred to that facility in “the next week.” I expressed concern that Mr. Young
            needed to be moved to that medical facility before the Court holiday, starting this
            Friday, and the Christmas holiday, starting on Monday. Ms. Khan stated that she was
            working on it and would email an update to the government and the defense by 1:00
            tomorrow.

                  I will continue to update the Court as I receive more information from Ms.
            Khan and the MDC.

                                                                   Sincerely,

                                                                           /s/
                                                                   Allegra Glashausser
                                                                   (212) 417-8739
                                                                   allegra_glashausser@fd.org
